             Case 2:24-cr-20704-NGE-APP ECF AUSA:
                                            No. 1, PageID.1
                                                    Andrew PicekFiled 11/08/24   Page 1(313)
                                                                             Telephone:  of 7226-9652
AO 91 (Rev. ) Criminal Complaint            Special Agent:         Steven Allick, ATF              Telephone: (313) 202-3400

                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                Eastern District of Michigan

United States of America
   v.                                                                                &DVHíPMí
Joshua Matthews                                                          Case No.    $VVLJQHG7R8QDVVLJQHG
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                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of               November 8, 2024               in the county of                  Wayne     in the
       Eastern            District of      Michigan       , the defendant(s) violated:
                  Code Section                                           Offense Description
18 U.S.C. § 922(g)(1)                                 Felon in possession of a firearm




         This criminal complaint is based on these facts:
See attached affidavit.




✔ Continued on the attached sheet.

                                                                                         Complainant’s
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                                                                                               inant’s signature
                                                                                                       signatu

                                                                                  Steven
                                                                                   teven Allick,, Special
                                                                                                   p      Agent,
                                                                                                           g , ATF
                                                                                             Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: November 8, 2024                                                                         Judge’s signature

City and state: Detroit, MI                                                Hon. Kimberly
                                                                                       y G. Altman,, U.S. Magistrate
                                                                                  mberly                    g        Judge
                                                                                                                        g
                                                                                             Printed name and title
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           AFFIDAVIT IN SUPPORT OF CRIMIANL COMPLAINT

           I.   INTRODUCTION AND AGENT BACKGROUND

      I, Steven Allick, being first duly sworn, hereby depose and state as follows:

      1.     I have personal knowledge of the facts set forth in this

affidavit with the exception of the matters expressly stated to be based

upon information and belief.

      2.     I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms

and Explosives (ATF), and have been since May of 2014. I am currently assigned

to the Detroit Field Division.     I completed 26 weeks of training, which was

comprised of the Criminal Investigator Training Program and the ATF Special

Agent Basic Training program at the Federal Law Enforcement Training Center in

Glynco, Georgia. I received extensive training on firearms identification, common

scenarios involving firearms and narcotics trafficking, and identification and effects

of controlled substances.      Additionally, I received training on undercover

investigations related to firearms and narcotics trafficking, which included

investigative techniques and common subject behavior.

      3.     During my employment with ATF, I have participated in numerous

investigations of criminal violations relating to firearms, violent crime, and

narcotics. I have participated in various aspects of criminal investigations, including

interviews, physical surveillance, and obtaining and executing search warrants. I am
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familiar with and have employed various investigative methods, including electronic

surveillance, visual surveillance, search warrants, and the utilization of confidential

informants.

      4.       The facts in this affidavit come from my personal observations,

interviews conducted by myself and/or other law enforcement agents, review of

relevant police reports and information from others who have personal knowledge

of the events and circumstances described herein, and my training and experience.

This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

      5.       Based on my training and experience and the facts set forth in this

affidavit, there is probable cause to believe that Joshua MATTHEWS (DOB:

01/04/2002), a convicted felon, has possessed a firearm in violation of 18 U.S.C.

§ 922(g)(1).

                            II.   PROBABLE CAUSE

      6.       In October 2024, I investigated a non-fatal shooting incident in Detroit

on October 6, 2024. Fired cartridge casings left at the scene were linked to a 10mm

firearm used in multiple recent shootings through the National Integrated Ballistic

Information Network (NIBIN)On October 6, 2024, Detroit Police Department

(DPD) Officers responded to multiple ShotSpotter police runs on Fenkell Avenue in

Detroit, Michigan. Upon arrival, Officers were flagged down by a female, who

stated her cousin was shot. Officers encountered a victim who was lying on the floor
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with his head wrapped in several shirts covered in blood. A witness stated a black

Jeep Grand Cherokee stopped in front of the location and fired multiple shots.

Medics transported the victim to Sinai Grace Hospital and determined he had a graze

wound to his ear from a bullet. Officers encountered another witness who was

rendering aid and was in possession of two firearms. Per the witness, there was a

music video being filmed at the location when a dark colored Jeep pulled up on

Fenkell Ave. and Lauder Street and the rear passenger fired about five shots. The

witness stated that he returned fire with his 9mm pistol, firing 16 rounds, before

firing an additional round with another witness’s 9mm pistol. Officers spoke with

the owners of the building, who stated they were closing the building for the night

when a black Grand Cherokee travelled down Fenkell with its headlights off,

stopped in front of the building, and started shooting. The 10mm casings were all

collected on Fenkell Ave. in the vicinity of where the Jeep stopped.

                     REVIEW OF SURVEILLANCE FOOTAGE

      7.     I reviewed surveillance footage from the shooting incident, and Green

Light video from a nearby gas station prior to the shooting. After review of the video

and further investigation, agents identified MATTHEWS as the suspect in the

shooting based upon the unique clothing and jewelry he was wearing and the

identification of the vehicle used in the shooting. Location data for MATTHEWS’s

phone also placed him in the vicinity of the shooting scene at the time of the shooting

                                  SEARCH WARRANT
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      8.     On November 7, 2024, I obtained applied for and obtained a federal

search warrant for MATTHEWS’s residence.

      9.     On November 8, 2024, agents executed the search warrant. Upon entry

into the residence, law enforcement encountered MATTHEWS coming from the

southwest bedroom, later identified as his bedroom. MATTHEWS told law

enforcement that he is currently on probation and has a Glock 20 on the headboard

for his bed. Law enforcement also encountered two adult females and a juvenile

inside the residence. The following items were found inside the residence:

           a. Glock, model 20, 10mm pistol, loaded with one round in the chamber

             and 15 rounds in the magazine, located on the headboard in

             MATTHEWS’s bedroom. In close proximity was MATTHEWS’s cell

             phone and his wallet containing identification.

           b. Duffle bag inside the closest of MATTHEWS’s bedroom, containing

             assorted ammunition and three firearms:

                 i. Romarm Cugir, mini draco, 7.62x39 caliber, loaded with one

                   round in the chamber and a magazine with 29 live rounds.

                ii. Zastava pistol, 7.62x39 caliber, no round in the chamber.

               iii. American Tactical, model Omni Hybrid, multi-caliber pistol,

                   loaded with one round in the chamber and a magazine with 39

                   live rounds.



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            c. The distinctive clothing MATTHEWS wore during the October 6,

               2024, shooting incident to include sweatshirt, pants, boots, and

               necklaces.

      10.      I spoke with ATF Interstate Nexus Expert, Special Agent Joshua

McLean. Special Agent McLean stated that each of the above-mentioned firearms

recovered during the search warrant on November 8, 2024, were manufactured

outside the State of Michigan. Therefore, the firearms traveled in, and/or affected

interstate commerce to arrive in the state of Michigan.

      11.      I reviewed MATTHEWS criminal history which notes he is currently

on felony probation and under the conditions of probation, MATTHEWS cannot

possess weapons. MATTHEWS has the following felony convictions:

            a. 2023- Felony Breaking and Entering a Building-3rd Circuit Court-

               Wayne County, MI.

            b. 2023- Felony Assaulting/Resisting/Obstructing a Police Officer-3rd

               Circuit Court-Wayne County, MI




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                               III.   CONCLUSION

      12.      Based on this information and MATTHEWS possession of the firearms

on November 8, 2024, there is probable cause to believe that MATTHEWS violated

18 U.S.C. § 922(g)(1) by being a convicted felon in possession of a firearm. This

violation occurred in the Eastern District of Michigan.

                                                 Respectfully submitted,


                                                 Steven Allick, Special Agent
                                                 Alcohol, Tobacco, & Firearms

Sworn
 worn to before me and signed in mym
presence                    electronic means.
 resence and/or by reliable electron


____________________________________
 ____________________________
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Hon.
 on. Kimberly G. Altman
United
 nited States Magistrate Judge

Dated:      November 8, 2024




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